Case 1:19-cv-04896-LDH-ST Document 63 Filed 09/28/22 Page 1 of 2 PageID #: 562




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

ALEJANDRO MANUEL ZAPATA OSORIO,                     Case No. 19-cv-04896-LDH-ST
ARTURO DEL RAZO, BRAULIO ROLANDO
CASHABAMBA CHANGO, BYRON                            CERTIFICATE OF SERVICE
SALVADOR BARRERA SANCHEZ, CARLOS
E. SIERRA RODRIGUEZ, EDWIN FABRICIO
CASHABAMBA TUBON, JESUS SIERRA,
JUAN SIERRA, RAMON ROSALES GALVEZ,
RAUL CHAVEZ DIAZ, SEGUNDO LEANDRO
ALULEMA GUANO, SEGUNDO NICOLAS
SIGUENCIA ENCALADA, and WILDER
RODRIGUEZ individually and on behalf of others
similarly situated,
                        Plaintiffs,

                       - vs -

VECTOR STRUCTURAL PRESERVATION
CORP. (D/B/A VECTOR STRUCTURAL
PRESERVATION), NORTH STAR STRATEGY,
INC. (D/B/A NORTH STAR STRATEGY,
INC.), BILL HANDAKAS , BILL HANDAKAS ,
VASSILIOS HANDAKAS , and SERGIO DOE

                                Defendants.



 Clela Errington certifies as follows:

        I am a natural person above the age of eighteen years and am not a party in the above-
 caption action.

        On September 28, 2022, I served copies of 1) Memorandum of Law in Opposition to
 Vector Structural Preservation Corp., Bill Handakas, and Vassilios Handakas’s Motion for
 Summary Judgment 2) The Declaration of Clela Errington with Exhibits A-D, and 3) Plaintiff’s
 Reply 56.1 Statement of Material Facts on Defendant Vector Structural Preservation Corp., Bill
 Handakas, and Vassilios Handakas’s counsel of record via email to:
Case 1:19-cv-04896-LDH-ST Document 63 Filed 09/28/22 Page 2 of 2 PageID #: 563




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                                                Clela A. Errington, Esq.
